
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-03-028-CV





IN RE COOPER TIRE &amp; RUBBER COMPANY	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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We have considered relator’s “Motion To Dismiss Mandamus Proceeding.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss this original proceeding.

Relator shall pay all costs of this original proceeding, for which let execution issue.

PER CURIAM

PANEL B:	HOLMAN, DAY, and DAUPHINOT, JJ.



DELIVERED: June 25, 2003

FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




